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                   United States District Court
                     District of Massachusetts

                                 )
Karen Venditto, individually and )
on behalf of all other persons   )
similarly situated,              )
                                 )
          Plaintiff,             )       Civil Action No.
                                 )       18-10020-NMG
          v.                     )
                                 )
Midland Funding LLC and Midland )
Portfolio Services, Inc.,        )
                                 )
          Defendants.            )
                                 )


                         MEMORANDUM & ORDER

GORTON, J.

     This is a putative class action brought by Karen Venditto

(“Venditto” or “plaintiff”) on behalf of Massachusetts residents

who were subject to attempts by Midland Funding, LLC (“the LLC”

or) to collect consumer debt that it had acquired.        Venditto

submits that judgments that the LLC obtained against the

plaintiffs are invalid because the LLC’s sole member and

manager, Midland Portfolio Services, Inc. (“MPS”) was not

registered to do business in Massachusetts.       Based on that

theory, plaintiff asserts claims of unjust enrichment, fraud,

negligent misrepresentation and violations of M.G.L. c. 93A.          In

addition, the complaint seeks declaratory and injunctive relief.




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     Pending before the Court are plaintiff’s motion to remand

and defendants’ motion to dismiss.

I.   Background

     Karen Venditto is a Massachusetts resident who at all

relevant times lived in Revere.     Midland Funding, LLC is a

limited liability company organized under the laws of the State

of Delaware with a principal place of business in San Diego,

California.   It has no employees and serves as a holding company

for Midland Portfolio Services, Inc., which is the LLC’s sole

member.   The LLC is one of the nation’s largest buyers of unpaid

debt and purchases accounts with an unpaid balance.        MPS is a

Delaware corporation that also has a principal place of business

in San Diego, California.

     In July, 2014, the LLC obtained a state-court default

judgment against plaintiff arising from the alleged non-payment

of credit card debt.   At all relevant times, the LLC had been

registered as a foreign limited liability company in

Massachusetts and deemed in good standing by the Secretary of

the Commonwealth.   The plaintiff’s complaint impugns the

registration status of MPS at the time of that state court

judgment.

     In November, 2012, MPS filed a certificate of withdrawal

with the Secretary of the Commonwealth in which it stated that

1) the corporation was not transacting business in the

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Commonwealth, 2) it surrendered its authority to transact

business in the Commonwealth and 3) it revoked the authority of

its registered agent to accept service on its behalf.            Plaintiff

insists that the LLC should also have filed a certificate of

cancellation in response to that notice of withdrawal because

MPS was the sole member of the LLC.

        The essence of plaintiff’s complaint is that the

certificate of withdrawal submitted by MPS rendered all

activities taken by the LLC unlawful.         Therefore, Venditto

submits, the 20 million dollars plus collected in 2013 on debts

owned by the LLC was collected in violation of common and

statutory law.

        Plaintiff brings her action on behalf of all Massachusetts

residents against whom the LLC attempted to collect consumer

debts acquired by the LLC between November, 2012, and December,

2017.

        Venditto filed this action in the Massachusetts Superior

Court for Suffolk County in December, 2017.          Defendants removed

the action to this Court in January, 2018, contending that this

Court has subject matter jurisdiction pursuant to the Class

Action Fairness Act (“CAFA”), 28 U.S.C. § 1332(d)(4).

        II.   Standing

        As a preliminary matter, this Court must determine whether

the present case presents a case or controversy within the

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meaning of Article III of the United States Constitution.

Defendants did not challenge plaintiff’s standing in their

motion to dismiss or their opposition to plaintiff’s motion to

remand.   Nonetheless, plaintiff briefed the issue in her

opposition to the motion to dismiss and defendants seized on it

in their reply memorandum.

     In the normal course, a legal argument raised for the first

time in a reply brief is considered waived for the purpose of

the instant motion. NExTT Sols., LLC v. XOS Techs., Inc., 113 F.

Supp. 3d 450, 458 (D. Mass. 2015).      Federal courts, however,

have “an independent obligation to assure that standing exists,

regardless of whether it is challenged” by the parties. Summers

v. Earth Island Inst., 555 U.S. 488, 499 (2009) (citation

omitted).

     The “irreducible constitutional minimum of standing”

requires that a plaintiff 1) suffered an injury in fact, 2)

fairly traceable to the actions of the defendant that is 3)

likely to be redressed by a favorable judicial decision. Spokeo,

Inc. v. Robins, 136 S.Ct. 1540, 1547 (2016).       Those elements are

easily satisfied in this case.

     Plaintiff alleges that she wrongfully paid funds to the LLC

(injury), based on the defendant’s failure to conform with

Massachusetts registration requirements (causation) that would



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be remedied if this Court granted her injunctive relief or money

damages (redressability).    She has standing to bring this case.


     III. Motion to remand

     Plaintiff asserts that this case should be remanded to the

Massachusetts Suffolk Superior Court for lack of subject matter

jurisdiction.   Defendants respond that the case satisfies the

amount-in-controversy requirement of CAFA and that the “internal

affairs” exception to CAFA does not apply.

     Any case removed from state court shall be remanded if at

“any time before final judgment it appears that the district

court lacks subject matter jurisdiction.” 28 U.S.C. § 1447(c).

The removal statute is to be strictly construed and defendants

have the burden of demonstrating the existence of federal

jurisdiction. Danca v. Private Health Care Sys., Inc., 185 F.3d

1, 4 (1st Cir. 1999).

           A. Amount-in-controversy

     CAFA provides for the removal to federal court of class

actions filed in state court if they satisfy the minimal

diversity and class size requirements of the statute and have

more than $5 million in controversy, exclusive of interest and

costs. See 28 U.S.C. §§ 1332(d), 1441(b), 1446(c), 1453; Amoche

v. Guarantee Trust Life Ins. Co., 556 F.3d 41, 42–43 (1st Cir.

2009).   The only CAFA requirement at issue in this case is


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whether or not the amount in controversy exceeds the

jurisdictional threshold.

       Determining whether a case belongs in federal court should

be done quickly, “without an extensive fact-finding inquiry”,

Spielman v. Genzyme Corp., 251 F.3d 1, 4 (1st Cir. 2001), and

there is a “general rule of deference to the plaintiff's chosen

forum.” Amoche, 556 F.3d at 50 (citation omitted).          Thus, any

doubts should be resolved in favor of remand because the court

has “a responsibility to police the border of federal

jurisdiction.” Spielman, 251 F.3d at 4.

       Where the complaint does not contain specific damage

allegations, the removing defendant must show there is a

reasonable probability that the amount in controversy exceeds

the $5 million threshold at the time of removal. Amoche, 556

F.3d at 43, 51.     Defendants have submitted a declaration from

Greg Gerkin, corporate counsel for Midland Credit Management,

Inc.   indicating that 1) the LLC is a wholly owned subsidiary of

MPS, which, in turn, is a wholly owned subsidiary of Midland

Credit Management, Inc. and 2) in the calendar year 2013,

Midland Credit Management, Inc. collected over $21,000,000 from

Massachusetts residents for debts owned by the LLC.          Given that

the putative class in this case includes all Massachusetts

residents against whom the LLC attempted to collect debt

acquired by the LLC after default between November, 2012, and

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December, 2017,    Gerkin’s statement alone, made under pains and

penalties of perjury, suffices to create a reasonable

probability that more than $5,000,000 is at stake in this case.

See Romulus v. CVS Pharmacy, Inc., 770 F.3d 67, 82 (1st Cir.

2014).    Plaintiff’s complaint satisfies the amount-in-

controversy requirement.

             B.   Internal affairs exception

     Plaintiff’s second, and more imaginative, theory is that

this action falls into the “internal affairs” exception to CAFA

jurisdiction.

     A class action may not be removed under CAFA if it

     solely involves . . . a claim that relates to the internal
     affairs or governance of a corporation or other form of
     business enterprise and arises under or by virtue of the
     laws of the State in which such corporation or business
     enterprise is incorporated or organized.

28 U.S.C. § 1453(d)(2); 28 U.S.C. § 1332(d)(9)(B).

         Plaintiff submits that because the essential nucleus of

fact of this dispute involves the LLC’s registration status in

the Commonwealth of Massachusetts, her claim involves the

defendants’ failure “internally to govern and conduct business

lawfully.”    This creative argument is unavailing.

         The First Circuit Court of Appeals (“First Circuit”) has

not had occasion to interpret the “internal affairs” exception

to CAFA but the Seventh Circuit has. See LaPlant v. Nw. Mut.



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Life Ins. Co., 701 F.3d 1137, 1139 (7th Cir. 2012).        It adopted

the term’s

     ordinary meaning, which the Supreme Court restated [as]
     matters peculiar to the relationships among or between the
     corporation and its current officers, directors and
     shareholders.

Id. at 1139-40 (quoting Edgar v. MITE Corp., 457 U.S. 624, 645
(1982)) (internal quotation marks omitted).

      This Court agrees with (and adopts) that definition.

Here, the dispute does not involve the relationship among and

between the corporation, its officers, directors and

shareholders.     Rather, the dispute is between a corporation and

its holding company, on the one side, and individuals whose debt

is held by that holding company on the other.       The claims in

plaintiff’s complaint include fraud and violation of the

Massachusetts Consumer Protection Law.      The action does not

involve a claim that solely relates to the internal affairs or

governance of Midland Funding, LLC or Midland Portfolio

Services, Inc. See id. at 1140-41.

      CAFA’s internal affairs exception does not apply and

federal jurisdiction over this action is proper.        Plaintiff’s

motion to remand will be denied.

     IV.     Motion to dismiss

     To survive a motion to dismiss, a complaint must contain

sufficient factual matter, accepted as true, to “state a claim

to relief that is plausible on its face.” Bell Atl. Corp. v.

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Twombly, 550 U.S. 544, 570 (2007).      In considering the merits of

a motion to dismiss, the Court may look only to the facts

alleged in the pleadings, documents attached as exhibits or

incorporated by reference in the complaint and matters of which

judicial notice can be taken. Nollet v. Justices of Trial Court

of Mass., 83 F.Supp.2d 204, 208 (D. Mass. 2000), aff’d, 248 F.3d

1127 (1st Cir. 2000).   Furthermore, the Court must accept all

factual allegations in the complaint as true and draw all

reasonable inferences in the plaintiff’s favor. Langadinos v.

Am. Airlines, Inc., 199 F.3d 68, 69 (1st Cir. 2000).        If the

facts in the complaint are sufficient to state a cause of

action, a motion to dismiss the complaint must be denied. See

Nollet, 83 F.Supp.2d at 208.

     Although a court must accept as true all of the factual

allegations contained in a complaint, that doctrine is not

applicable to legal conclusions. Ashcroft v. Iqbal, 556 U.S. 662

(2009).   Threadbare recitals of the legal elements which are

supported by mere conclusory statements do not suffice to state

a cause of action. Id. at 678 (citing Twombly, 550 U.S. at 555).

Accordingly, a complaint does not state a claim for relief where

the well-pled facts fail to warrant an inference of any more

than the mere possibility of misconduct. Id. at 679.




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          A.    Count I - Declaratory judgment

     Venditto seeks a declaratory judgment from this Court.

Although the complaint is difficult to comprehend, apparently

plaintiff requests that this Court declare invalid all judgments

obtained by the LLC in Massachusetts courts during the relevant

time period.   She requests a judgment from this Court declaring,

inter alia, all judgments obtained by defendant against the

class members “null and void and unenforceable” and “all monies

collected by defendant . . . illegal.”

     This Court lacks subject matter jurisdiction to entertain

plaintiff’s request. See Mills v. Harmon Law Offices, P.C., 344

F.3d 42, 44 n. 1 (1st Cir. 2003) (explaining that Rooker-Feldman

doctrine is jurisdictional in nature).       Because the Supreme

Court is the only federal court empowered to hear direct appeals

of state court decisions,

     federal district courts lack jurisdiction over federal
     complaints that essentially invite federal courts of first
     instance to review and reverse unfavorable state-court
     judgments.


Federación de Maestros v. Junta de Relaciones del Trabajo, 410
F.3d 17, 20 (1st Cir. 2005) (internal quotations, modifications,
and citations omitted).

     That so-called “Rooker-Feldman” doctrine applies where

     the losing party in state court filed suit in federal court
     after the state court proceedings ended, complaining of an
     injury caused by the state-court judgment and seeking
     review and rejection of that judgment.


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Id. at 23-24 (quoting Exxon Mobil Corp. v. Saudi Basic Indus.
Corp., 544 U.S. 280, 291 (2005)).

     Those elements are present here.       Venditto was the losing

party in state court in 2014.     She filed this suit in 2017.         She

complains of an injury caused by the state court default

judgment and asks this court to declare that judgment null and

void because the LLC was not a properly registered business at

that time.   There is, however, one issue in dispute.        Venditto

did not “file[] suit in federal court”.       She filed in state

court and the case was removed.

     The axiom animating the Rooker-Feldman doctrine is that

Congress has only empowered one federal court, namely the

Supreme Court, “appellate authority to reverse or modify a

state-court judgment.”    Exxon Mobil, 544 U.S. at 284 (quoting

Rooker v. Fid. Tr. Co., 263 U.S. 413, 416 (1923)) (internal

quotation marks omitted).     Bearing that principle in mind, this

Court lacks jurisdiction over plaintiff’s request for

declaratory judgment because she asks this Court to exercise

appellate authority which it does not possess.

     The relevant inquiry pertains to the authority invoked, not

the intention of the plaintiff, so it is immaterial that this

case was removed from state court instead of filed in federal

court. Cf. id. at 291 (observing that Rooker-Feldman “precludes

a United States district court from exercising subject-matter


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jurisdiction in an action it would otherwise be empowered to

adjudicate under a congressional grant of authority, e.g., §

1330 (suits against foreign states), § 1331 (federal question),

and § 1332 (diversity)).

     Faced with a class action that was removed under the

expanded diversity jurisdiction created by CAFA, the Seventh

Circuit remarked that “today no one doubts that [Rooker-Feldman]

is equally applicable to diversity litigation” including CAFA’s

extension of diversity jurisdiction. Bergquist v. Mann Bracken,

LLP, 592 F.3d 816, 818 (7th Cir. 2010) (“The petitions for leave

to appeal question whether the Rooker-Feldman doctrine applies

to proceedings under the Class Action Fairness Act.         It does.”);

cf. Khath v. Midland Funding, LLC, No. CV 14-14184-MLW, 2016 WL

1275606, at *3 (D. Mass. Mar. 30, 2016) (concluding that an

unjust enrichment claim was not barred by Rooker-Feldman because

“it would not vacate [state court] judgments”).

     Because plaintiff’s request for a judgment declaring her

2014 judgment “null and void and unenforceable” would require

this Court to exercise appellate authority on a direct appeal

from a state court, this Court lacks jurisdiction over that

claim under the Rooker-Feldman doctrine.

          B. Count II - Unjust enrichment

     Plaintiff alleges that the LLC was unjustly enriched when

she was required to make payments to it based on an unlawfully

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obtained state court judgment.     According to Venditto, the LLC

would not have received such funds but for its “actions

unlawfully taken in the courts of the Commonwealth.”

     Massachusetts courts define unjust enrichment as retention

of “money or property of another against the fundamental

principles of justice or equity and good conscience.” Shea v.

Cameron, 92 Mass. App. Ct. 731, 740, review denied, 479 Mass.

1105 (2018) (citation omitted).      The fact that a party has

“benefited from another is not of itself sufficient to require

the other to make restitution therefor.” Keller v. O’Brien, 425

Mass. 774, 778 (1997) (quotation omitted).

     Although the LLC was enriched at Venditto’s expense, her

payment of funds to the LLC cannot be deemed unjust.         Venditto

does not dispute that she owed the underlying debt.         The

standard for unjust enrichment is based on the reasonable

expectations of the parties. Santagate v. Tower, 64 Mass. App.

Ct. 324, 336 (2005).    Even if MPS’s 2012 certificate of

withdrawal had rendered the LLC in violation of Massachusetts

law, it would not be unjust to require a consumer repay a loan

she knowingly borrowed, nor would it be reasonable for her to

expect to avoid a financial obligation because of a filing

discrepancy obligation of which she almost certainly had no

knowledge.



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     Because plaintiff has failed to state a claim for unjust

enrichment, defendants’ motion to dismiss, with respect to Count

II, will be allowed.

            C. Fraud and negligent misrepresentation

         Under Massachusetts law, a court determines whether to

apply the contract or the tort statute of limitations based on

the “essential nature” of a party’s claim. Royal–Globe Ins. Co.

v. Craven, 411 Mass. 629, 636 (1992).       Here, plaintiff claims

that she did not have “all lawful defenses” available to her

during her state court litigation.       Her fraud and negligent

misrepresentation claims are therefore tort claims subject to a

three-year limitation period. M.G.L. c. 260, § 2A; Salois v.

Dime Sav. Bank of New York, FSB, 128 F.3d 20, 24 (1st Cir.

1997).

         A cause of action accrues when the plaintiff knew or

should have known about the alleged fraudulent or deceitful act.

Albrecht v. Clifford, 436 Mass. 706, 714 (2002).        Here,

plaintiff alleges that purported misrepresentations occurred

when the LLC filed a lawsuit in May, 2014, and collected a

default judgment against plaintiff in July, 2014, without

disclosing MPS’s 2012 certificate of withdrawal.        That

certificate of withdrawal is a publicly available document that

was accessible to plaintiff at the time the suit was filed and

at the time the default judgment was entered.

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      The LLC did not owe a fiduciary duty to the plaintiffs and

MPS, by publicly filing a certificate, cannot be said to have

fraudulently concealed the information, thus there is no reason

to toll the statute of limitations. Passatempo v. McMenimen, 461

Mass. 279, 295 (2012).    Plaintiff should have known of the MPS

certificate in July, 2014 but this action was not commenced

until December, 2017, more than three years later.         Her action

is time-barred and plaintiff’s counsel has made no plausible

argument to the contrary. Cf. Farnsworth v. Towboat Nantucket

Sound, Inc., 790 F.3d 90, 97 n.8 (1st Cir. 2015) (“[T]he

argument is entirely cursory and so waived.”).

      Because plaintiff’s fraud and negligent misrepresentation

claims are time-barred, defendants’ motion to dismiss, with

respect to Counts III & IV, will be allowed.

          D.     Chapter 93A

      Chapter 93A makes it unlawful for a party to engage in an

“unfair method of competition” or an “unfair or deceptive act or

practice.” M.G.L. c. 93A, § 2.     Proponents of such claims must

prove they have suffered a tangible loss as a result of the

unfair or deceptive conduct. Arthur D. Little, Inc. v. Dooyang

Corp., 147 F.3d 47, 56 (1st Cir. 1998).

      To determine whether a particular practice is unfair,

courts examine



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       Whether the practice ... is within at least the penumbra of
       some common-law, statutory or other established concept of
       unfairness; (2) whether it is immoral, unethical,
       oppressive, or unscrupulous; [and] (3) whether it causes
       substantial injury to consumers . . . .

Mass. Eye & Ear Infirmary v. QLT Phototherapeutics, Inc., 552
F.3d 47, 69 (1st Cir. 2009).

        The lodestar of Chapter 93A claims is whether the

defendant's actions “would raise an eyebrow of someone inured to

the rough and tumble of the world of commerce.” Levings v.

Forbes & Wallace, Inc., 8 Mass. App. Ct. 498, 504 (1979) (Kass,

J.).

        To prove a Chapter 93A claim, “it is neither necessary nor

sufficient that a particular act or practice” violate common or

statutory law. Mass. Eye & Ear Infirmary, 552 F.3d at 66; cf.

Madan v. Royal Indem. Co., 26 Mass. App. Ct. 756, 763 (1989)

(explaining that a plaintiff must show unfair or deceptive acts

over and above a breach of contract to demonstrate a violation

of Chapter 93A).

        Plaintiff cannot carry her burden.

        Venditto cites no authority for the proposition that the

filing of a certificate of withdrawal by MPS while serving as a

manager and member of the LLC is unfair or deceptive.           Indeed,

Venditto concedes that she can cite no case law asserting that

an otherwise properly registered LLC loses its certificate of

registration by virtue of its member failing to register as a


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foreign corporation.    Plaintiff is even less forthcoming as to

how defendants’ conduct was “immoral, unethical, oppressive, or

unscrupulous.” Cf. Flores v. OneWest Bank, F.S.B., 886 F.3d 160,

166 (1st Cir. 2018) (failure to modify loan, without contractual

or statutory obligation to do so, not Chapter 93A violation);

Klairmont v. Gainsboro Rest., Inc., 465 Mass. 165, 176 (2013)

(“[V]ery few” building code violations will give rise to

violations of c. 93A [] because they would lack the unfairness

or deceptiveness present in this case . . . .”); Barletta Heavy

Div., Inc. v. Erie Interstate Contractors, Inc., 778 F. Supp. 2d

109, 115 (D. Mass. 2011) (“A breach of contract, without more,

does not constitute a violation of Chapter 93A.”) (citation

omitted).

      Finally, plaintiff has not alleged that the failure to

register by a corporation that is the sole member of an LLC and

itself has no privity with the plaintiff, causes substantial

injury to consumers.    A tenuous error does not constitute a

Chapter 93A violation. See Baena v. KPMG LLP, 453 F.3d 1, 3 (1st

Cir. 2006).

      Because plaintiff has failed to state a Chapter 93A claim

upon which relief can be granted defendants’ motion to dismiss,

with respect to Count V, will be allowed.




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                                 ORDER

     For the foregoing reasons, plaintiff’s motion to remand

(Docket No. 8) is DENIED.     Defendants’ motion to dismiss (Docket

No. 9) is ALLOWED.



So ordered.


                                    /s/ Nathaniel M. Gorton_____
                                     Nathaniel M. Gorton
                                    United States District Judge

Dated September 7, 2018




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